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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

STATE OF NEW YORK, et al, wee
Plaintiffs,

Vv.

UNITED STATES DEPARTMENT OF COMMERCE, et al,
Defendants. 18-CV-2921 (JMF)

 

NEW YORK IMMIGRATION COALITION, et al.,
Plaintiffs,
v.
UNITED STATES DEPARTMENT OF COMMERCE, et al.,
Defendants. 18-CV-5025 (JMF)
(Consolidated)

 

PLAINTIFF-INTERVENOR ROBERT A. HEGHMANN’S MOTION TO INTERVENE

Robert A. Heghmann respectfully moves pursuant to Federal Rule of Civil Procedure 24
to intervene as a Plaintiff in this action. Intervention is warranted as of right because Plaintiff-
Intervenor’s interest in the Fundamental Right of Voters in Suburban and Rural Voting Districts
in Elections for the U.S. House of Representatives is and will be in serious jeopardy if the 2020
Census does not, as the 2000 Census did, determine with 90% confidence the Citizen/Non-Citizen

composition of every Congressional Voting District in the United States.

_ Plaintiff-Intervenor is a registered voter and resides in the Second Congressional District

in Virginia

USDC

   

Beach, Virginia. The Second Congressional District is suburban on one end where

 

 

 

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Virginia Beach borders the City of Norfolk and rural farm land on the other end where it borders

the Outer Banks of North Carolina.

The inclusion of the question, Are you a Citizen?, is absolutely essential for the Intervenor-
Plaintiff to protect his Fundamental Right to an undiluted and undebased Vote in Congressional
Elections. Only if the Census determines the Citizen/Non-Citizen ratio of every Congressional
District will Suburban and Rural voters such as the Plaintiff have the data necessary to guard.
against dilution of their votes. And only by guarding against the creation of Urban Congressional
Voting Districts with a ratio of Citizen Population versus the Ratio of Non-Citizen Population that
is less than the ratio of Citizen Population in Suburban and Rural Congressional Voting Districts
can the Intervenor Plaintiff prevent the creation of such Urban Congressional Districts that would

dilute and debase the Plaintiff's Vote in violation of the One man, One Vote Requirement.
Background

During the 1996 and 1998 Election cycles the Intervenor-Plaintiff was an attorney
practicing law in Avon Connecticut and participating in Republican Elections. In those cycles he
served as Finance Chairman for Wade Horsey who ran for the Connecticut State House from the
Avon District. Wade, a Republican African-American, ran a spirited election and won over 8,000
votes in each election. He lost both elections. While Wade lost with 8,000 votes, Democratic
Candidates running in Urban Election Districts won election with fewer than 2,000 votes. One
obvious cause of this disparity in the number of votes necessary for election was the fact that the
Ratio of Eligible Voters as a percentage of the population of election districts in Urban Voting
Districts was lower than the Ratio of Eligible Voters as a percentage of the population in Suburban
and Rural voting districts. This disparity was caused by the increasing number of non-citizen

immigrants in the population of the Urban Voting Districts. This raised the question in the mind

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of Wade and I as to whether this disparity Diluted and Debased the Votes of Suburban and Rura

Voters.
Wade Horsey v. Bysiewicz, Secretary of State, 3:99-cv-2250 (D. Conn. I 999)

I filed an action on behalf of Wade Horsey in federal court to challenge the creation of
voting districts based solely upon population without regard to the ratio of citizens in the
population of both state and Congressional Districts. The case was assigned to District Judge
Stefan Underhill. Since it was an Apportionment Case I requested a Three-Judge Panel and my
request was granted. Circuit Court Judge Winter and District Court Judge Hall joined the Three-

Judge panel.

It must be remembered that 1999 was before the explosion of conservative talk radio.
Drudge and Breitbart were not even a gleam in the minds of their eventual creators. Rush.
Limbaugh was still at best a regional voice crying in the Wilderness. The public’s access to
information was limited to the main-street media which in the case of Connecticut meant the New
York Times and the Boston Globe externally and the Hartford Courant and New Haven Register
internally. All of these “news” papers were true blue, died in the wool Democrat. Despite the
significance of the litigation and its potential impact voting rights throughout the United States,

none of these “news” papers covered the litigation. Horsey became exclusively inside baseball.

The Critical Legal Findings of Horsey and their Impact Upon this Litigation

The Three-Judge Panel issued two opinion, Horsey J and Horsey IZ. Both were significant
and both directly impact this case. In Horsey J, the Court denied the State’s Rule 12 Motion to
Dismiss based upon lack of Subject Matter jurisdiction and ruled that the issue of whether or not

apportionment based solely upon population without regard to the Ratio of Citizens to Non-

 

 

 
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Citizens was justiciable. The Court then decided that Wade Horsey had standing to raise the issue

These decisions have never been appealed.

The Court then considered the evidence presented by the Plaintiff and found that the
evidence was too speculative upon which to rule on such a critical issue. The Court did leave open
the possibility that the Plaintiff could return with evidence that more clearly and definitively

supported his claim. Until then, the case was dismissed.

When the case was initiated, I was working exclusively with Data from the 1990 Census
That Data was too raw to definitely establish the Ratio of Citizens to Non-Citizens in each
Connecticut Congressional District. At about the time Horsey I was decided, the 2000 Census
results were issued. Perhaps in response to my case, the Census determined that it could determine
with a 90%confidence factor the Ratio of Citizens to Non-Citizens in every Congressional District
in the U.S. including Connecticut. Armed with this Data, I returned to the Three-Judge Panel. This

return resulted in Horsey I a copy of which is attached as Exhibit 1.
In Horsey II, the Court armed with the new Census Data ruled as follows:

The data reveal that the percentage of non-citizens in Connecticut's congressional

districts varies from between 2.2 percent and 9.7 percent. However, this is within a

generally accepted range of deviation from equality. See Chen v. City of Houston, 206

16 F.3d 502, 522 (5th Cir. 2000) (less than 10% deviation is constitutionally tolerated for

state elections); Garza v. County of Los Angeles, 918 F.2d 763, 785-86 (9th Cir. 1990)

(Kozinski, J., concurring in part and dissenting in part) (same). Horsey II at 12.

As Wade Horsey’s attorney, I wanted to appeal this ruling. The rationale in Chen has
never been applied to Congressional Districts as opposed to state election districts. The Supreme
Court which has allowed some latitude to state’s in apportionment decisions has demanded strict

equality in Congressional District Apportionment. I believed application of Chen in this case was

error. Unfortunately, the Clerk for the Second Circuit so mis-handled the Notice of Appeal that

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the opportunity for Appeal was lost. A copy of Judge Underhill’s description of how that

occurred is attached as Exhibit 2.
Citizenship and Politics

The Washington Democratic Establishment which was monitoring the litigation closely

knew it had dodged a political bullet. Although the range of non-citizens in Connecticut was les

than 10%,

Horsey's second set of data shows that whereas Connecticut's Sixth Congressiona

District has 2.9 percent non-citizens, nine congressional districts spread across California

and New York have non-citizen populations of between 17.8 percent and 40.7 percent. See
id. at { 12. Horsey I at 8.

Had Wade Horsey brought his case in New York or California, he might well have gotten

a much different decision. Therefore, to make sure another Horsey-type challenge was not brought
to apportionment based upon population without regard to citizenship, Barack Obama upon

becoming President seized control of the Census for one purpose, make sure the question Are you

a Citizen? was removed so that Census Data could not be used to mount a similar challenge in the
future. Thus, it is not the Republicans who are playing politics with the Census, it is the Democrats.
Horsey’s Impact upon this litigation.

Horsey IVis the law of this Circuit. This Court is bound by it. Further, This Court has vowed

to Defend and Protect the Constitution of the United States which by Supreme Court decisions
includes One Man, One Vote. This Court must take whatever steps are required to protect the
Fundamental Right to Vote of the Citizens of the United States. In this case that means permitting
the Censes to include the question, Are you a Citizen?
By enjoining the Census from asking this question this Court has become complicit in the
Democrat Party scheme implemented by Barack Obama to deny Suburban and Rural Voters access

to Census Data absolutely necessary to determine if their votes are being unconstitutionally diluted

 

 

 
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and debased, and if so, to challenge it in federal courts throughout the United States including New
York.

This Court consistent with its vow to Defend and Protect the Constitution has no choice. I
must vacate its injunction and Order the Census to include the Question Are you a Citizen? in the
2020 Census.

Dated: July 12, 2019

The Plaintiff,

Li,
Robert A. Heghmann
933 Wyden Drive
Virginia Beach, VA 23462
(603) 866 — 3024

Bob Heghmann@Reavan.com

 

Certification

I hereby certify that I served copies of this pleading via e-mail to Sania.Khan(@ag.ny.gov

   

for the Plaintiffs and Carlotta. Wells@usdoj.gov for the Defendants. The Intervenor-Plaintiff

anticipates Pacer will serve all other Parties.

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UNITED STATES DISTRICT COURT
FOR THE Ex
DISTRICT OF CONNECTICUT

Docket No. 3:99 CV 2250 (SRU)

WADE H. HORSEY, II, Individually and on behalf of all other
Suburban and Rural Citizen Voters Similarly Situated,

Plaintiff,
_ V. —

SUSAN BYSTEWICZ, Secretary of the State of Connecticut, JEFF
TRANDAHL, Clerk of the United States House of Representatives,
JOHN G. ROWLAND, Governor of the State of Connecticut, DENISE
L. NAPPIER, Treasurer of the State of Connecticut, NANCY
WYMAN, Comptroller of the State of Connecticut, and the 2001
REAPPORTIONMENT COMMITTEE OF THE STATE OF CONNECTICUT,

Defendants.

Before: WINTER, Circuit Judge, HALL, and UNDERHILL,
District Judges.

ROBERT A. HEGHMANN ; Law Office of
Piazza and Pickel, Stamford,
Connecticut, for Plaintiff.

SUSAN QUINN COBB, Assistant
Attorney General of Connecticut,
Hartford, Connecticut and KERRY
W. KIRCHER, Deputy General
Counsel for the United States
House of Representatives,
Washington, D.C. (Richard
Blumenthal, Attorney General of
Connecticut, Gregory T. D'Auria,
seu spent Associate Attorney General of
Connecticut, and Jane R.

 

 

 
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Rosenberg, Assistant Attorney
General of Connecticut, of
counsel), for Defendants.

 

 

 
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MEMORANDUM AND ORDER
WINTER, Circuit Judge:

Wade H. Horsey moves for reconsideration of our grant of
summary judgment to the defendants. See Horsey v. Bysiewicz,
No. 3:99CV2250 SRU, at 3 (D. Conn. Sept. 18, 2002) (memorandum
and order) ("Horsey I"). He also asks us to order the
defendants to show cause why they should not be ordered to
request that the Department of Commerce, Bureau of Census
provide the parties and the court with Census 2000
Supplementary Survey Profiles of fourteen Connecticut State
House of Representatives voting districts established in 1991.

In our prior decision, id., familiarity with which is
assumed, we granted summary judgment against Horsey on his
claim that apportioning voting districts solely on total
population denies him equal protection of the laws because, as
a suburban voter, his vote is diluted relative to that of an
urban voter for purposes of elections to the United States
House of Representatives and to the Connecticut House of
Representatives. Underlying this claim is Horsey’s factual
assertion that urban districts have disproportionate (to
suburban districts) numbers of persons who are not eligible
voters because they are aliens, minors, or we might add,

felons. We concluded that Horsey had submitted only

 

 

 
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"speculative evidence based on various, often non-comparable
demographic data," that was insufficient as a matter of law to
Support these factual claims, Horsey I, at 3, or to allow a
redrawing of the districts, id. at 14. We did, however, hold
out the possibility that Horsey might cure the evidentiary
deficiencies on a motion for reconsideration. See id. at 16-
17 n.3.

On October 17, 2002, Horsey moved for reconsideration and
submitted further evidentiary data ina supporting affidavit.
The defendants argue that Horsey's motion is untimely under
Rule 9(e) (1) of the Local Rules of the District of Connecticut
and that it has been submitted without the accompanying
memorandum of law as required under Rule 9(e). Defendants
also request that this court deny Horsey's application for an
order to show cause because he has provided no legal basis for
requiring defendants to gather evidentiary support on his
behalf. We grant Horsey’s motion for reconsideration,
reaffirm our grant of summary judgment and deny Horsey's
request for an Order to Show Cause.

DISCUSSION
A. Untimely Filing under Local Rule 9(e) (1)
Local Rule 9(e) (1) requires that motions for

reconsideration be "filed and served within ten (10) days of

 

 

 
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the filing of the decision or order from which such relief is
sought, and [that such motions] shall be accompanied by a
memorandum setting forth concisely the matters or controlling
decisions which counsel believes the Court overlooked in the
initial decision or order." D. Conn. L. Civ. R. 9(e) (1)
(reserved and recodified at D. Conn. L. Civ. R. 7(c) (1)
(2003)). Defendants are correct that Horsey's motion is
untimely by almost three weeks and lacks a supporting
memorandum of law.

Motions for reconsideration under Local Rule 9(e) are
essentially motions for amendment of judgment under Fed. R.
Civ. P. 59(e). See City of Hartford v. Chase, 942 F.2d 130,
133 (2d Cir. 1991). When such motions are untimely, they are

construed as motions for relief from judgment under Fed. R.

 

Civ. P. 60(b). See Wright, Miller «& Kane, Federal Practice
and Procedure § 2817 & n.16, at 184 (1995). Although a

district court retains the "inherent power to decide when a
departure from its Local Rules should be excused or
overlooked," see Somlyo v. J. Lu-Rob Enters., 932 F.2d 1043,
1048 (2d Cir. 1991), specific provisions of the Federal Rules
of Civil Procedure may shed light on whether a district court
has abused its discretion in departing from its local rules.

see Ass'n for Retarded Citizens of Conn., Inc. v. Thorne, 68

 

 

 
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F.3d 547, 553-54 (2d Cir. 1995) (finding no abuse of
discretion where district court's consideration of untimely
motion was "[b]lased on rationales for granting Rule 60(b)
relief").

While reluctant to disregard rules and deadlines, and
mindful of Horsey’s failure in other regards to observe
procedural niceties, see Horsey I, at 5-6, we will entertain
his motion. First, Horsey's motion is somewhat unusual in

that we invited him to submit this data, see id., at 16-17

 

 

n.3, rendering his motion equally analogous to a supplement of
the summary judgment record as to a motion for
reconsideration. Second, some of Horsey’s claims raise
serious constitutional issues, in particular whether a
disproportionate number of non-voting-eligible persons in one
district violates the rights of voters in other districts. We
are reluctant in such circumstances not to give him every
opportunity to pursue his claim.

Courts have the latitude to deal with extenuating
circumstances under Fed. R. Civ. P. 60(b) (6), which provides
that courts may relieve a party from a final judgment for "any
other reason justifying relief from the operation of the
judgment." For these reasons, we grant Horsey's motion for

reconsideration and consider the impact of his new data on our

 

 

 
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prior summary judgment order.
B. The Nature of Horsey's Claims

In his pleadings and other submissions, Horsey challenges
the apportionment of: (i) Connecticut State House of
Representatives districts; (ii) United States congressional
districts within Connecticut; and (iii) Congressional
districts nationally, in particular, Connecticut, New York and
California. Horsey also challenges the manner in which the
federal government allocates the number of seats to the United
States House of Representatives.

tn our prior opinion, we viewed Horsey’s claim of
unconstitutional dilution as mainly based on the
disproportionate combination of residents who were either non-
citizens or were citizens ineligible to vote (hereafter

"ineligible citizens"). See id. at 2. However, we do note

 

that, at times, Horsey has characterized his apportionment
challenges as based solely on disparities in the numbers of
citizens and non-citizens among legislative districts,! and
that, at other times, he has described his claims as based
solely on disparities in the numbers of ineligible citizens.?
See Second Amended Compl. at 4 12, 13, 16, 17, 22, 25, 27,
28, 30, 33, 51. See also Horsey I, at 2 (characterizing

Horsey's claim as focused on apportionment practices that have

 

 

 
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"given no regard to whether the number of citizens eligible to
register to vote ('eligible voters') in the resultant
districts is also equal"). Our analysis of Horsey's new
evidence varies depending on whether his claims are
characterized as based on disparities resulting from the
number of aliens, ineligible citizens, or a combination
thereof.
C. Horsey's New Evidentiary Submission

Horsey's affidavit offers three sets of data based on
Census 2000 Supplemental Survey Profiles. Two sets compare
Connecticut's Sixth Congressional District? to a total of
eight or nine congressional districts in California and New
York. Horsey's first set of data shows that the total number
of votes cast in the Sixth Congressional District exceeded by
more than 100,000 the total number of votes cast in the New
York and California districts. See Heghmann Aff. at qs.
Horsey's second set of data shows that whereas Connecticut's
Sixth Congressional District has 2.9 percent non-citizens,
nine congressional districts spread across California and New
York have non-citizen populations of between 17.8 percent and
40.7 percent. See id. at § 12. A third set of data shows
that Connecticut has a total non-citizen population of 4.9

percent whereas California's non-citizen population is 15.7

 

 

 
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percent and New York's is 10.9 percent. See id. at § 14.4

We find this submission insufficient to Justify
overturning our prior decision for the reasons that follow.

1. Claims Regarding Ineligible Citizens or a Combination
of Ineligible Citizens and Aliens

Horsey's new submission provides no support for his
claims regarding disparities resulting from the number of
ineligible citizens or a combination of ineligible citizens
and aliens among Connecticut state legislative and federal
congressional districts. The submission includes data showing
only the distribution of citizens and aliens within districts,
whereas his factual claims as to the inclusion of ineligible
citizens or a combination of ineligible citizens and aliens
require a different and more refined showing.

Although there is an overlap between citizenship and
voter eligibility, the need for naked speculation to support
his claim regarding the distribution of ineligible citizens in
the various voting districts at issue is not eliminated by the
new data. To uphold his factual claim we would need to know
the distribution of those under 18 who are citizens in each
district and the distribution of those who are over 18 but
ineligible to vote as felons in each district. [It might also

be necessary for Horsey to provide evidence showing how many

 

 

 

 
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residents of particular areas live in "institutions, college
dormitories, and other group quarters," their eligibility to

vote, and where they are registered to vote. See id., at A-6

 

note. None of this information is included in the census data

presented. See id. Finally, for remedial purposes, far more

 

localized information would be necessary to redraw the
boundaries of the districts involved.

While we construe the record in the light most favorable
to the non-movant on a summary judgment motion, and draw all
permissible inferences in his favor, see Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 255 (1986), a non-movant cannot
"escape summary judgment merely by vaguely asserting the
existence of some unspecified disputed material facts,"
Borthwick v. First Georgetown Sec., Inc., 892 F.2d 178, 181
(2d Cir. 1989), “or defeat the motion through mere speculation
or conjecture," W. World Ins. Co. v. Stack Oil, Inc., 922 F.2d
118, 121 (2d Cir. 1990) (internal quotation marks and
citations omitted).

As explained above, Horsey's new submission does not
eliminate the need for wholly speculative inferences, and we
therefore adhere to our prior grant of summary judgment to the
defendants on these claims.

2. Claims Regarding Citizens and Aliens

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Because Horsey offers information regarding the
percentages of citizens and non-citizens in different states
and certain congressional districts, see Heghmann Aff. at
12, 14, there may be some evidentiary support for his claim
that including non-citizens for apportionment purposes
substantially dilutes his vote.

(i)
Apportionment of State House of Representatives Districts

The citizen/non-citizen evidence submitted by Horsey
relates only to the composition of districts for the United
States House of Representatives. This evidence, therefore,
has no bearing on his claims regarding the composition of
Connecticut's House of Representatives! districts, and we
adhere to our prior ruling on this claim.

(ii)
Apportionment of Congressional Districts within Connecticut

In our prior decision, we noted that Horsey had expressly
waived mandatory relief relating to the apportionment of
congressional districts within Connecticut, see Horsey I, at
6, but that he continued to seek a declaratory judgment that

these apportionments are unconstitutional, see id.®

 

In his affidavit accompanying his new submission, Horsey

provides instructions on how to compile comparative

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citizen/non-citizen data for Connecticut's six congressional
districts as they existed in the year 2000. See Heghmann Aff.
at ¢ 5. While Horsey states that, if we follow these
instructions we will have "all the statistical evidence [we]
need[] to rule fon] the issues raised by [Horsey] regarding

the dilution of his vote in congressional elections," id., he

 

neither compiles the statistical information nor elaborates on
its relevance to, or effect on, his equal protection claim.

While we are reluctant to interpret data that is not
properly submitted or explained, we consider it, such as it
is, but find it unpersuasive. The data reveal that the
percentage of non-citizens in Connecticut's congressional
districts varies from between 2.2 percent and 9.7 percent.
However, this is within a generally accepted range of
deviation from equality. See Chen v. City of Houston, 206
F.3d 502, 522 (5th Cir. 2000) (less than 10% deviation is
constitutionally tolerated for state elections); Garza v.
County of Los Angeles, 918 F.2d 763, 785-86 (9th Cir. 1990)
(Kozinski, J., concurring in part and dissenting in part)
(same).

Moreover, it is not at all clear, and Horsey’s papers are
unhelpful in this regard, that the data offered is

sufficiently refined to allow the redrawing of congressional

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districts to achieve the equality in citizen population that
he wants. A similar lack of refined data was in part the
basis for our earlier decision. See Horsey I, at 14.
(iii)

Apportionment of Congressional Districts Nationally

As noted in our prior decision, Horsey filed a waiver of
relief of all claims relating to the apportionment of
congressional seats among the states, although he continues to
seek a declaratory judgment that these apportionments are

unconstitutional. See id., at 6. Horsey's new evidence --

 

which indicates that some states may receive a
disproportionate share of congressional seats due to higher
numbers of non-citizens -- provides factual support for his
claim. Nevertheless, his claim is foreclosed by the text of
the Constitution.

The Fourteenth Amendment states that "Representatives
shall be apportioned among the several States according to

their respective numbers, counting the whole number of persons

in each state, excluding Indians not taxed." U.S. Const.
amend. XIV, § 2 (emphasis added). For Horsey's claim to have
merit, i.e., for us to conclude that the Federal government

has unconstitutionally included non-citizens in its

apportionment determination, the meaning of "persons" would

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have to be restricted to "citizens." The text of the
Fourteenth Amendment clearly indicates that this
interpretation is incorrect. Section 1 of the Fourteenth
Amendment uses both terms in a manner suggesting that
"persons" comprises a broader category of people that includes
both citizens and non-citizens. see U.S. Const. amend. XIV, §
1 ("No State shall make or enforce any law which shall abridge
the privileges or immunities of citizens of the United States;
nor shall any State deprive any person of life, liberty, or
property, without due process of law; nor deny to any person
within its jurisdiction the equal protection of the laws.")
(emphasis added).

Nor does the pre-Civil War text of the Constitution lend
Support to Horsey's argument that the apportionment of
representatives is restricted to citizens. As originally

enacted, the Constitution deliberately "diluted" the voting

power of citizens living in free states by counting three-

fifths of all slaves in the apportionment determination. See
U.S. Const. art. I, § 2, cl. 3 ("Representatives . . . shall
be apportioned among the several States... according to

their respective Numbers, which shall be determined by adding
to the whole Number of free Persons, including those bound to

Service for a Term of Years, and excluding Indians not taxed,

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three fifths of all other Persons."). While Horsey's new
evidence may support his argument that there is a disparity
between citizenship and the allocation of congressional
representatives among the fifty states, this disparity is
sanctioned by the Constitution.

Horsey's remaining claim is therefore limited to
disparities among congressional districts in California and
among congressional districts in New York with regard to the
numbers of resident citizens and non-citizens. However,
Horsey lacks standing to bring such a claim. As a non-
resident of either state, Horsey has suffered no cognizable
injury from the alleged malapportionment of California's or
New York's congressional districts. Nor may Horsey bring an
equal protection claim on behalf of California and New York
residents who have had their votes diluted by their respective
Sstates' redistricting. See United States v. Hays, 515 U.S.
737, 739 (1995) (holding that plaintiff lacks standing to
assert an equal protection voting rights claim in a state
where he or she is not a resident of the challenged district);
see also Dillard v. Baldwin County Comm'rs, 225 F.3d 1271,
1279 (lith Cir. 2000) (interpreting Hays to mean that "if the
plaintiff lives in the racially gerrymandered district, she

has standing; if she does not, she must produce specific

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evidence of harm other than the fact that the composition of

her district might have been different were it not for the

gerrymandering of the other district."); cf. Allen v. Wright,

468 U.S. 737, 755 (1984) (plaintiff only has standing to bring
equal protection challenge where he is "personally denied
equal treatment"); Valley Forge Christian Coll. v. Americans
United for Separation of Church and State, 454 U.S. 464, 489-
90 n.26 (1982) (disapproving the proposition that every
citizen has "standing to challenge every affirmative-action
program on the basis of a personal right to a government that
does not deny equal protection of the laws").
c) Request for an Order to Show Cause

Horsey requests that we order the defendants to show
cause why they should not be ordered to request that the
Bureau of Census provide the parties and the court with Census
2000 Supplemental Survey Profiles of fourteen Connecticut
State House of Representatives voting districts established in
1991. We deny this request. Not only could Horsey have
purchased a Special Tabulation showing the percentages of non-
citizens in various Connecticut State House of Representatives
districts from the Bureau of Census,® but it remains unclear
whether such a tabulation would contain sufficient data to

permit findings on the number of eligible voters in the state

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districts.
CONCLUSION
For the reasons indicated, we grant Horsey's motion for
reconsideration, reaffirm our earlier grant of summary
judgment for the defendants, and deny Horsey’s request for an
Order to Show Cause. We again emphasize that we intimate no
view on whether Horsey’s claims, if factually supported, would

be valid.

/s/ Ralph K. Winter
Ralph K. Winter, U.S.C.J.

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FOOTNOTES

l. See, e.g., Second Amended Compl. at 22 (demanding
preliminary and permanent injunction preventing Clerk of the
U.S. House of Representatives from including representatives
from any state "in which election districts are not
apportioned to reflect as nearly as possible equal percentages
of the citizen population"); Plaintiff's Reply to Defendants'!
Objections to the Plaintiff's Motion for Reconsideration and
Application for an Order to Show Cause at 2-3:

Because the Census Bureau has now published
detailed reports congressional district by
congressional district stating with 90%
accuracy the number of non-citizens in each
district, the plaintiff if permitted to do
so can now factually demonstrate the
constitutional violation.

The constitutional issue simply stated
is does the disparity in the vote total
between voting districts reflect the
disparity in the distribution of the
citizen population. . . . Now the plaintiff
can use the Census Bureau Community Surveys
to link the disparity in the distribution
of the citizen population with the
disparity in the vote totals.

(emphasis added)

2. An equal protection claim that apportionment must be based

solely on the number of citizens resident in a district

differs crucially from a claim that apportionment must be

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based solely on the number of eligible voters. Whereas
upholding the former would exclude aliens, upholding the
latter would exclude citizens as well, principally minors and
felons. There is of course a tension between equality of
representation and equality of voting power. However, a claim
of dilution seems intuitively weaker when based solely on
disparities in ineligible citizens resident in a district.

For example, dilution of voting power in one district based on
a disproportionate number of minor citizens in another does
not discriminate between groups with differential claims to
representation in the political process. Minors are denied
the right to vote on grounds of judgment and independence
rather than a weak claim to representation. Aliens, however,
are denied the right to vote based on potential loyalty to
another nation, their presumed smaller stake in the outcomes

of American elections, etc.

3. Ironically, Connecticut's Sixth Congressional District no
longer exists following reapportionment after the 2000 census
although the apportionment of state House of Representatives
districts is unaffected by these changes. Horsey's claims as
to federal House districts are nonetheless not moot because

they might escape review and recur. See Southern Pacific

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Terminal Co. v. ICC, 219 U.S. 498, 515 (1911) (providing an
exception to the mootness doctrine for situations “capable of
repetition, yet evading review.”).

4. Horsey has also instructed this court on how to compile a
fourth data set providing information on the numbers of
citizens and non-citizens in Connecticut's congressional

districts. See Heghmann Aff. at § 5.

5. In view of our disposition, we need not reach the propriety

of both waiving relief and seeking a declaratory judgment in

these circumstances.

6. In order to obtain these numbers, Horsey would have had to
determine which census tracts corresponded to the state house
districts. Once he had this information, the census could
have performed a statistical breakdown similar to one Horsey
provided for congressional districts in the affidavit

accompanying his motion for reconsideration.

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

Bl uF R
WADE H. HORSEY, II,
Plaintiff,
: CIVIL ACTION NO.
Vv. : 3:99cv2250 (SRU)

SUSAN BYSIEWICZ, ET AL.,
Defendants.

RULING ON MOTION FOR RELIEF FROM JUDGMENT

Wade H. Horsey, II challenged the constitutionality of Connecticut's method of drawing
voting districts for elections to the United States and Connecticut Houses of Representatives. As
required by 28 U.S.C. § 2284, this three-judge district court was convened to hear Horsey’s case.
On September 18, 2002, we granted summary judgment in favor of the defendants. Horsey
moved for reconsideration. On March 24, 2004, we affirmed our grant of summary judgment.
Thirty days later, Horsey filed a timely notice of appeal, correctly indicating that his appeal was
to the Supreme Court.

The docketing clerk who received the notice of appeal, unfamiliar with the obscure
procedure applicable to cases heard by three-judge district courts, forwarded the notice to the
Second Circuit Court of Appeals, not the Supreme Court. Shortly thereafter the docketing clerk
received a call from a clerk at the Second Circuit who pointed out that the notice of appeal did
not designate the Second Circuit and should be amended. The docketing clerk then called
Horsey’s attorney and instructed him to amend Horsey’s notice of appeal to designate an appeal
to the Second Circuit, rather than the Supreme Court. Uncertain of the appropriate procedure,
Horsey’s attorney followed the clerk’s instructions and, on June 7, filed an “Amended Notice of

Appeal,” designating an appeal to the Second Circuit. On July 20, a Second Circuit staff attorney

 

 

 

 
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contacted Horsey’s attorney and expressed concern that Horsey’s appeal was with the wrong
court. Several discussions between Horsey’s attorney and the staff of both courts eventually
revealed the mis-communication and cleared up the confusion, but too late. The sixty-day time
limit for filing a jurisdictional statement with the Supreme Court had passed. See Supreme Cour
Rule 18(3).

Horsey asks us to vacate our order, pursuant to Rule 60(b), and then to reissue it, thereby
resetting his appeal deadlines. Though we are inclined to grant Horsey’s motion, we cannot,
because we do not currently have jurisdiction.

On April 24, 2004, Horsey filed a proper notice of appeal, correctly designating the
Supreme Court as the court that would hear his appeal. That filing vested jurisdiction in the
Supreme Court. Nothing since then has taken jurisdiction away from the Supreme Court — the
Court has not dismissed Horsey’s appeal and Horsey has not requested leave from the Court to
withdraw his notice of appeal.' Filing a proper notice of appeal divests a district court of
jurisdiction except to the extent explicitly reserved by statute. Ryan v. United States Lines Co.,
303 F.2d 430, 434 (2d Cir. 1962). Nevertheless, this Circuit has adopted the practical rule of
allowing district courts to entertain and deny Rule 60(b) motions after a notice of appeal is filed,
even though they may not grant Rule 60(b) motions without consent of the appellate court. King

v. First American Investigations, Inc., 287 F.3d 91, 94 (2d Cir. 2002). When faced with a post-

 

' There is no reason to think Horsey’s filing of an “Amended Notice of Appeal” with the
Second Circuit could have ousted the Supreme Court’s jurisdiction. The filing of dual notices
with separate courts is not without precedent, the notices serving to “protect” the jurisdiction of
the appropriate court. See, e.g., Swift & Co. v. Wickham, 382 U.S. 111, 114 (1965) (dismissing
appeal to Supreme Court and noting that appeal would now go directly to Court of Appeals
because a separate notice of appeal was already filed with that court). There is no indication that
in such a case the later-filed notice has the ability to undo the effect of the earlier one.

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appeal Rule 60(b) motion, the proper procedure is for a district court to reach the merits of the
motion. If the court believes the motion should be denied, it may do so, but if it is inclined to
grant the motion, it cannot do so until the case has been remanded by the higher court. Ryan, 302
F.2d at 434. Accordingly, though lacking complete jurisdiction, we address the merits of
Horsey’s motion.

As we have already had occasion to note in this case, Rule 60(b)(6) gives a district court
latitude to grant relief from judgment for “any other reason justifying relief from the operation of
the judgment.” See Horsey v. Bysiewicz, 2004 WL 725363, *2 (D. Conn. March 24, 2004). On
occasion, courts have used this authority in the manner urged by Horsey, namely, to reset appeals
deadlines. See, e.g., Lewis v. Alexander, 987 F.2d 392 (6th Cir. 1993). The Second Circuit does
not favor such action because it is rare that time limitations are not adequately addressed by the
relevant appeal statutes. “Jt is evident that a somewhat more stringent test must govern petitions
for relief under Rule 60(b) [of the Federal Rules of Civil Procedure]; were this not so, the
binding time constraints imposed by Rule 4(a)(5) [of the Federal Rules of Appellate Procedure]
would be completely eroded by the open-ended relief offered by Rule 60(b).” Mennen Co. v.
Gillette Co., 719 F.2d 568, 570 n.5 (2d Cir. 1983). Under 60(b), a party “must show an
affirmative if ultimately unfruitful effort to track the progress of its litigation, not merely an
acceptable excuse for failure to do so.” Jd. In our view, the circumstances of this case, including
the diligent efforts of Horsey’s attorney, satisfy the more stringent test.

What Professors Wright, Miller, and Cooper call the “labyrinthian and even bizarre body
of jurisdiction rules” governing appeals from a three-judge district court is enough to bewilder all

but the most erudite practitioner. See 17 Wright, Miller, and Cooper, Federal Practice and

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Procedure § 4040 (1988). In fact, although Horsey’s situation appears unique, the reverse
situation — lodging an appeal from a three-judge district court with the Supreme Court, when the
circuit court is the appropriate court — is so common that in those situations the Supreme Court
routinely vacates the district court’s judgment and directs that a new Judgment be issued from
which a fresh appeal may be taken.” Norton v. Mathews, 427 U.S. 524, 531 (1976). Horsey’s
situation is even more sympathetic. Horsey’s attorney actually got it right and appealed to the
proper court, but did not pursue his appeal to that court because of a statement made by a clerk of.
this court. Under these circumstances, we deem it appropriate under Rule 60(b)(6) to vacate our
former judgment and reissue it so that Horsey may have his case heard by the Supreme Court.
Because we conclude that Horsey’s motion should be granted, we are now powerless to
do anything. The Supreme Court has jurisdiction; we do not. Accordingly, one of two things
will happen. It is possible that the Supreme Court will agree to hear Horsey’s case despite his
tardy jurisdictional statement. If that happens, all is well, and Horsey needs no relief. If,
however, the Supreme Court dismisses Horsey’s appeal as out of time, we will again have

jurisdiction over the case and will grant a renewed motion under Rule 60(b)(6).

 

* The occurrence is less frequent now that the repeal of 28 U.S.C. §§ 2281 and 2282 has
reduced the need to convene three-judge district courts, but the Supreme Court still endorses the
practice of “refreshing” judgments when appropriate. See Clinton v. Jeffers, 503 U.S. 930 (1992)
(vacating and remanding Voting Rights Act case to allow appeal to Eighth Circuit of order on
attorneys’ fees).

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Horsey’s motion under Rule 60(b) (doc. # 90) is DENIED, but may be re-filed in the

event the Supreme Court dismisses his appeal as untimely.

It is so ordered.

Dated at Bridgeport, Connecticut, this 23"! day of November 2004.

FOR THE THREE JUDGE COURT

/s/ Stefan R. Underhill
Stefan R. Underhill
United States District Judge

 

 

 

 
 

   

  

 

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